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                           Exhibit 35
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  Message
  From:         Aparna Pappu [apappu@google.com]
  Sent:         12/14/2016 2:01:16 AM
  To:           Gang Wang [wanggang@google.com]
  CC:           Haskell Garon [hgaron@google.com]; Jonathan Bellack [jbellack@google.com]; Michael Kleber
                [kleber@google.com]; Vamsee Jasti [jastiv@google.com]; Max Loubser [maxl@google.com]; Robert Hazan
                [rhazan@google.com]; Stephen Clement [sjclement@google.com]; Bahman Rabii [bahman@google.com]; William
                Grose [wgrose@google.com]; Verna Friesen [vjfriesen@google.com]; a4a-cam [a4a-cam@google.com]; Sam Cox
                [samcox@google.com]
  Subject:      Re: AMP Ads serving Q: Allow 1-hop redirect?



  I also have thoughts best f2f or IM but in general I still am leaning heavily in the only 2PAS first camp.
  Gang - re S2S we can get this as a part of the RTB response itself or via inred to DCM no? as in add that
  requirement - why do it at BOW rendering time?


  On Tue, Dec 13, 2016 at 3:41 PM, Gang Wang <wanggang@google.com> wrote:
  In the case of Criteo (or any RTB) returning links to AMP ads on their own creative server, one option that I
  like to explore first is whether BOW can do server-2-server call to Criteo creative server to retrieve AMP ads. If
  so, BOW can return the AMP creatives back to users' browser without supporting of I-hop in AMP runtime.

  This server side approach seems having a few benefits compared to I-hop. We can discuss in more details f2f.

  On Tue, Dec 13, 2016 at 3:06 PM, Haskell Garon <hgaron@google.com> wrote:
  On the RTB side, I think there will be a lot of pushback on AMP ads adoption ifwe do not offer I-hop -- tons of
  large buyers like Criteo return creative html in the bid response, but then call back to their creative server to
  retrieve assets for dynamic creatives. On 3P exchanges, DBM will likely run into the same issue for their own
  dynamic creatives. While 0-hop is what we want long-term, if I-hop is the price to pay to get 3rd parties using
  AMP ads in the short-term, I think it would still be net positive for users and pubs.

  On Tue, Dec 13, 2016 at 3:02 PM, Jonathan Bellack <jbellack@google.com> wrote:
  Thanks. I have thoughts on this better discussed over IM or f2f -- will reach out.



  -- Jonathan Bellack / jbellack@google.com
    Director, Product Management/ Publisher Ad Platforms

  On Tue, Dec 13, 2016 at 2:53 PM, Michael Kleber <kleber@google.com> wrote:
  Thanks - I've tried to fill in the table, though my SSP knowledge is weak.




  On Tue, Dec 13, 2016 at 1:36 PM, Jonathan Bellack <jbellack@google.com> wrote:
  Great doc. I am still a bit confused. I set up a table at the end of the doc with the five use cases I can think of --
  could you clarify how each will be treated under current A4A and in the proposal?




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  -- Jonathan Bellack / jbellack@google.com
    Director, Product Management/ Publisher Ad Platforms

  On Tue, Dec 13, 2016 at 10:30 AM, Michael Kleber <kleber@google.com> wrote:
  We will indeed do DCM serving via a server-to-server hand-off, so if TripleLift could serve that way,
  everything would work. (Hey wgrose, speak up if you disagree.)

  Ifwe serve a I-hop redirect, we lose control in two ways: The destination might be an AMP ad we don't like
  (e.g. misleading "Download" button, jiggling belly fat, etc.), or it might be a non-AMP ad. In the first case,
  AMP is protecting the user from lots of badness, we just feel we could do a better job by e.g. analyzing the
  image.

  The second case we could eliminate if we further tighten the rules to only permit an AMP ad after the I-hop
  redirect. That is, we expect the future to include ad requests where only AMP ads will be allowed; we could
  force the post-redirect ad request into that state.



  On Tue, Dec 13, 2016 at 10:07 AM, Apama Pappu <apappu@google.com> wrote:
  I think the only real argument is protecting users and protecting the web experience - everything else is a
  tertiary benefit and I would not consider that the basis to make changes

  On Tue, Dec 13, 2016 at 10:05 AM, Vamsee Jasti <jastiv@google.com> wrote:
  Adding to Michael's point. Majority of ads to AMP pages are delivered from DoubleClick. It would benefit
  DFP by remaining the single source of competition for publishers.




  On Tue, Dec 13, 2016 at 9:57 AM Michael Kleber <kleber@google.com> wrote:
   Even in a Native-first world there are companies like TripleLift, who sell themselves to advertisers as creators
   of beautiful native-type ads experiences, and are in the middle of adopting AMP. In January they are going to
   run their ads on Time's AMP site, but that required Time using TripleLift's tag on their pages. They would like
   to run those same ads on DFP-tagged publishers as well.

   --Michael


   On Tue, Dec 13, 2016 at 9:53 AM, Apama Pappu <apappu@google.com> wrote:
   It's a great question and the document is very useful.
   In a bum your desktop boats world and a native ads world wouldn't the assets be something we get directly
   from advertisers to the 2nd party adserver?
   I am biassed towards not allowing the I-hop i.e. 2PAS only not 3PAS but obviously you make some very good
   points here re adoption

   On Tue, Dec 13, 2016 at 8:38 AM, Michael Kleber <kleber@google.com> wrote:
   Hi folks,




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   There's an open question in how to serve AMP ads onto AMP pages: whether or not to allow a limited (I-hop)
   version of 3PAS, versus requiring the creative itself to be served by the publisher's ad platform ("second-party-
   only ad serving").

   I've talked to a bunch of you about this already, and put together a doc outlining the issue. Please take a look,
   and see if I've missed any considerations. This seems like a hard question, and we'll need to work on one path
   or the other soon.

   http://go/a4a-lhop-q




   Forewamed is worth an octopus in the bush.


                              Product Manager, AMP I
  Vamsee Jasti I
                              Google




  Forewamed is worth an octopus in the bush.




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